Case o-2U0-/142i-laS Vocl Filed 0s/O4/20 Entered 03/04/20 15 L140

 

Fill in this information to identify the case:

1020 HAR - © }2: 28 ©) Check if this is an

| United States Bankruptcy Court for the: U.S. BAN & aptoy COURT
| | EASTERN DISTRICT OF
EASTERN __pistietor NEWYORK | NEWYORK
| (State)

Case number (ifknowny; Chapter 11 |

 

amended filing

RECEIVED

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy 02/20

 

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Iindividuals, is available.

4. Debtor's name WINSIDE GROUP LLC

 

 

2. All other names debtor used

 

in the last 8 years

 

 

Include any assumed names,

 

trade names, and doing business
as names

 

 

3. Debtor's federal Employer _
Identification Number (EIN) Si--27 330 95

 

4. Debtor’s address Principal place of business

21 FLAX POND ROAD

 

Mailing address, if different from principal place
of business

 

 

 

 

 

 

 

Number Street Number Street
P.O. Box

OLD FIELD N.Y. 11733

City State ZIP Code City State ZIP Code
Location of principal assets, if different from
principal place of business

Sv GNe
County

 

Number Street

 

 

City State ZIP Cade

 

5. Debtor’s website (URL)

 

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1

 
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Debtor WINSIDE GROUP LLC Case number (if known),

Name

 

 

 

(@ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
CJ Partnership (excluding LLP)
C1 other. Specify:

6. Type of debtor

 

 

A. Check one:
7. Describe debtor’s business

C) Health Care Business (as defined in 11 U.S.C. § 101(27A))
(I Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
CI Railroad (as defined in 11 U.S.C. § 101(44))

C) Stockbroker (as defined in 11 U.S.C. § 101(63A))

(J Commodity Broker (as defined in 14 U.S.C. § 101(6))

LJ Clearing Bank (as defined in 11 U.S.C. § 781(3))

4d None of the above

 

B. Check all that apply:

CJ Tax-exempt entity (as described in 26 U.S.C, § 501)

C] investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

Cl investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

 

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
hito-//www.uscourts.gov/four-digit-national-association-naics-codes .

 

§ 3.4 4
8. Under which chapter of the Check one:
Bankruptcy Code is the
debtor filing? Cl Chapter 7
OQ) Chapter 9

{4 Chapter 11. Check aif that apply:

CL) Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
4/01/22 and every 3 years after that).

C) The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). lf the
debtor is a small business debtor, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax return or if all of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1){B).

CiThe debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
chooses to proceed under Subchapter V of Chapter 711.

CJ A plan is being filed with this petition,

(] Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

L) The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

C] The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule

    

 

12b-2.
ee ee lod Chapter 12. _ :
9. Were prior bankruptcy cases Fe
filed by or against the debtore*_,
within the last 8 years? eS. District When Case number
MM/ DD/YYYY
If more than 2 cases, attach a District When Case number

 

separate list. MM/ DD/YYYY

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2

 
Case o-2U0-/142i-laS Vocl Filed 0s/O4/20 Entered 03/04/20 15 L140

Debtor

WINSIDE GROUP LLC

Case number (it known)

 

Name

 

 

 

 

 

10. Are any bankruptcy cases (4 No
pending or being filed by a
business partner or an C) Yes. Debtor Relationship
affiliate of the debtor? District When
List all cases. If more than 1, MM / DD /YYYY
attach a separate list. Case number, if known
11. Why is the case filed in this Check all that apply:

district?

{4 Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

CIA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 

12. Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

| Statistical and administrative information

id No

Q) Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
Why does the property need immediate attention? (Check all that apply.)

CJ it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

CI It needs to be physically secured or protected from the weather.

(J It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

CI other

 

Where is the property?.
Number Street

 

 

City State ZIP Code

Is the property insured?
C} No

C] Yes. insurance agency

 

Contact name

 

Phone

 

 

 

43. Debtor’s estimation of
available funds

Check one:

ee will be available for distribution to unsecured creditors.
After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

 

14. Estimated number of
creditors

4-49 LJ 1,000-5,000 QI 25,001-50,000

C] 50-99 C] 5,001-10,000 (CJ 50,001-100,000
Q 100-199 C} 10,001-25,000 C) More than 100,000
C) 200-999

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3
 

 

 

Case o-2U0-/142i-laS Vocl Filed 0s/O4/20 Entered 03/04/20 15 L140

 

 

 

 

Debtor WINSIDE GROUP LLC Case number (if known)
Name
; 7G $0-$50,000 C) $1,000,001-$10 million (} $500,000,001-$1 billion
15. Estimated assets C2) $50,001-$100,000 (1 $10,000,001-$50 million CJ $1,000,000,001-$10 billion
CJ $100,001-$500,000 C} $50,000,001-$100 million CJ $10,000,000,001-$50 billion
C} $500,001-$1 milion C) $100,000,001-$500 million (J More than $50 billion
; oo C $0-$50,000 CI $1,000,001-$10 million C1) $500,000,001-$1 billion
16. Estimated liabilities Q $50,001-$100,000 Q $10,000,001-$50 million Q $1,000,000,001-$10 billion
C] $100,001-$500,000 C] $50,000,001-$100 million C $10,000,000,001-$80 billion
FX $500,001-81 million C} $100,000,001-$500 million (J More than $50 billion

 

a Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17, Declaration and signature of The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of at
petition.
debtor

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.

Lid Clues shachae fakes

Signature of LLL iF ative of d debtor X= name

Ne Title [posible

Executed on

 

 

 

 

 

 

 

is. Signature of attorney x Date
Signature of attorney for debtor MM /DD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

 

 

Official Form 201 Voluntary Petition for Non-Individuals. Filing for Bankruptcy page 4

 
Case o-2U0-/142i-laS Vocl Filed 0s/O4/20 Entered 03/04/20 15 L140

UNITED STATES BANKRUPTCY COURT ' my ‘ {

' EASTERN DISTRICT OF NEW YORK

 

 

In re: Case No.

Lon Chapter
ane (/
WW ANA (- Ri Debtor(s)

Xx
AFFIRMATION OF FILER(S)

 

All individuals filing a bankruptcy petition on behalf of a pro se debtor(s), must provide the following
information:

Name of Filer: Se lan by ee

 

 

 

 

 

j
Address: YZ Kida We Oar , Maly Wh, V4 109
Email Address: Se » °OC Crane © Groran\ nr on /
Phone Number: (ye) Gyu-2ansy
Name of Debtor(s): UA Avy Cron ECew

CHECK THE APPROPRIATE RESPONSES:
ASSISTANCE PROVIDED TO DEBTOR(S):

I PREPARED THE PETITION AND/OR ASSISTED WITH THE PAPERWORK BY DOING
THE FOLLOWING:

 

 

ope

x DID NOT PROVIDE THE PAPERWORK OR ASSIST WITH COMPLETING THE FORMS.

FEE RECEIVED:
YI WAS NOT PAID.

I WAS PAID.
Amount Paid: $

I/We hereby affirm the information above under the penalty of perjury.

| Dated: aly Lov LA

” Filer’s Signatfire

 

 

 
Case o-2U0-/142i-laS Vocl Filed 0s/O4/20 Entered 03/04/20 15 L140

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In Re:

W/ Layne C Ct Ce Case No.

Chapter \ \

Debtor(s)

 

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/List of creditors submitted herein is true and correct to the best of his or her

Dated: J I] Jar

 

 

knowledge.
¢

Debtor

  

 

Joint Debtor

 

Attorney for Debtor

USBC-44 Rev.3/17/05
Case o-2U0-/142i-laS Vocl Filed 0s/O4/20 Entered 03/04/20 15 L140

TEMPLE VIEW CAP FUN
7101 WISCONSIN AVE SUITE 1012

BETHESDA MD 20814
